                                                Case 20-62468-sms                         Doc 20   Filed 07/30/20 Entered 07/30/20 18:39:19                                       Desc
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                                                                                                                                                                                                               Page: 1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:      20-62468-SMS                                                                                                                     Trustee Name:        (300320) S. Gregory Hays
Case Name:       BAILEY, WONDALYN SHANTE                                                                                                        Date Filed (f) or Converted (c): 02/09/2020 (f)
                                                                                                                                                § 341(a) Meeting Date:       03/17/2020
For Period Ending:         06/30/2020                                                                                                           Claims Bar Date: 09/16/2020

                                                     1                                                  2                              3                            4                      5                          6

                                             Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                         and Other Costs)                                                             Remaining Assets

    1        233 Long Drive, McDonough, GA 30253-0000, Henry County                                         159,800.00                         15,810.00                                               0.00               185,000.00
             Mortgage amount scheduled at initial 2009 balance. Current mortgage balance
             has been requested.

    2        2014 Toyota Camry, 96200 miles                                                                   8,640.00                               0.00           OA                                 0.00                        FA
             Notice of abandonment filed on 6/17/20, Dkt # 15.

    3        2001 Ford Ranger, 185500 miles                                                                   2,500.00                               0.00           OA                                 0.00                        FA
             Notice of abandonment filed on 6/17/20, Dkt # 15.

    4        Living Room Set, Dining Room Set, Bedroom Set.                                                   1,100.00                               0.00                                              0.00                        FA

    5        2TV's , DVD Player, Dell Laptop & Printer                                                           800.00                              0.00                                              0.00                        FA

    6        Pers. Clothing @ Res.                                                                               900.00                              0.00                                              0.00                        FA

    7        Cash                                                                                                 20.00                              0.00                                              0.00                        FA

    8        Deposits of money: Pers. Checking Account @ Wells Fargo Bank.                                       155.00                              0.00                                              0.00                        FA

    9        Deposits of money: Pers. Checking Account @ Chase Bank.                                             250.00                              0.00                                              0.00                        FA

    10       Auto Accident 01-16-2020 involving Sasha Bulger-Foster.                                               1.00                              1.00                                              0.00                     1.00

   10        Assets               Totals       (Excluding unknown values)                               $174,166.00                           $15,811.00                                           $0.00              $185,001.00



         Major Activities Affecting Case Closing:
                                        Trustee believes there is equity in the Debtor’s property and has requested the current mortgage statement through Debtor's attorney. Trustee intends
                                        to file a motion to compel to obtain current mortgage statement from Debtor.

         Initial Projected Date Of Final Report (TFR):                       09/30/2022                                    Current Projected Date Of Final Report (TFR):                       09/30/2022


              07/30/2020                                                                                                     /s/S. Gregory Hays

                    Date                                                                                                     S. Gregory Hays
